                                          Northern District Of Ohio
                                        United States Bankruptcy Court
                                        Ralph Regula U.S. Courthouse
                                         401 McKinley Avenue SW
                                              Canton, OH 44702
                                              Case No. 21−61491−tnap

In re:
   Squirrels Research Labs LLC                             The Midwest Data Company LLC
   8050 Freedom Avenue NW                                  8050 Freedom Avenue NW
   North Canton, OH 44720                                  8050 Freedom Avenue NW
                                                           North Canton, OH 44720
Social Security No.:

Employer's Tax I.D. No.:
  83−0829310                                               84−3221213


                                              NOTICE OF HEARING

                                            Rescheduled Time to 1:00 p.m.


To the Creditors and Parties in Interest:

Notice is hereby given that a hearing in the above case will be held at the U.S. Bankruptcy court on:


                                          Date/Time/Location of Hearing
                                             May 21, 2024 at 1:00 p.m.
                                           Ralph Regula U.S. Courthouse


To consider and act upon the following matters:




Dated: May 8, 2024                                                                For the Court
Form ohnb187                                                                   Josiah C. Sell, Clerk




    21-61491-tnap        Doc 331      FILED 05/08/24         ENTERED 05/08/24 09:36:59                 Page 1 of 1
